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                               United States District Court
                                      District of New Mexico
UNITED STATES OF AMERICA,                                             ORDER OF DETENTION PENDING
                                                                   PROBATION REVOCATION HEARING
       v.
                                                                                  Case Number: 15-CR-4274 JB
MARCO HOLGUIN,


       In accordance with the Fed. R. Crim. P. 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), a detention hearing has
been held. I conclude that the following facts require the detention of the defendant pending the final revocation
hearing in this case.

                                                Findings of Fact

    (1) The defendant is held in custody for violating probation or supervised release. See Fed. R. Crim. P.
        32.1(a)(1).
    (2) The Court held a preliminary hearing and found probable cause for some or all of allegations of violation
        of probation or supervised release OR a preliminary hearing was waived by the defendant. See Fed. R.
        Crim. P. 32.1(b)(1)(A).
    (3) At the detention hearing, the defendant did not establish, nor did the court find, by clear and convincing
        evidence that the defendant will not flee or pose a danger to any other person or to the community if
        released under 18 U.S.C. § 3142(b) (personal recognizance or unsecured appearance bond) or (c) (release
        on conditions) pending further proceedings. See Fed. R. Crim. P. 32.1(a)(6); 18 U.S.C. § 3143(a)(1).
    (4) Additional findings or explanations: Defendant waived his detention hearing. Because the defendant
        waived the detention hearing, he failed to establish by clear and convincing evidence under Fed. R. Crim.
        P. 32.1(a)(6) that he will not flee or pose a danger to any other person or to the community.




                                          ORDER OF DETENTION

       Therefore, pursuant to Fed. R. Crim. P. 32.1(a)(6), the defendant shall be and is ordered detained pending
a revocation hearing.

        The defendant is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility pending a revocation hearing. The defendant shall be afforded a reasonable
opportunity for private consultation with defense counsel. On order of a court of the United States or on request
of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to
the United States marshal for the purpose of an appearance in connection with a court proceeding.

Date: 8/10/2021


                                                     _________________________________________
                                                     Steve C. Yarbrough, U.S. Magistrate Judge
